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				IN RE ADOPTION OF PROCEDURES FOR THE NOTICE AND FILING OF OPINIONS2017 OK CR 9Case Number: CCAD-2017-3Decided: 05/15/2017IN RE ADOPTION OF PROCEDURES FOR THE NOTICE AND FILING OF OPINIONS

Cite as: 2017 OK CR 9, __  __

				

AMENDED ORDER
¶1 On March 31, 2017, this Court issued its "Order Adopting Opinion Filing Procedures" and provided e-mail addresses for individuals and organizations to submit their requests to be added as a subscriber to either the "mailing list" to receive notice of opinions to be handed down or the "mailing list" to receive electronic copies of all Court of Criminal Appeals opinions, both published and unpublished, as the opinions are filed in the clerk's office. 
¶2 Due to the interest in being listed as a subscriber to each of these mailing lists the Court's technology department has created new subscribing options. The new options are as follows:


1. Visit the Court of Criminal Appeals' website at http://www.okcca.net/online and locate the "New Opinions E-Mail Lists" box. Clink on the "Subscribe" link to email a request to receive notice of opinions to be handed down. Clink on the "Subscribe Opinion" link to email a request to receive electronic copies of the Court's opinions. 
Or,
2. Email the Court's mail list manager directly at maillistmgr@oscn.net to request to receive notice of opinions to be handed down. Email the court clerk's mail list manager at OCCAmaillistmgr@oscn.net to request to receive electronic copies of the Court's opinions when the opinions are handed down and filed. 
3. Regardless of the method utilized to subscribe to either or both of the mailing lists the subscriber must provide his or her name and email address in the request to subscribe. 
¶3 IT IS SO ORDERED.
¶4 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 15th day of May, 2017.
&nbsp;
/S/GARY L. LUMPKIN, Presiding Judge
ATTEST:
/s/Michael S. Richie(Clerk)




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